Waste VL“VULLOZ-AIVIC VUL 4UL42L Fieu VilVoIVve Faye tvlo

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 1]
)
W.R. Grace & Co., et al., ) Case No. 01-01139 (JKF)
) (Jointly Administered)
)
Debtors. )
Motion to Exclude Dr. R.J. Lee’s Opinion on Cleavage Fragments
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Dated: July 7, 2003
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W.R. Grace & Co., et al.. Case No. 01-01139 (TKF)

(Jointly Administered)

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Debtors.

Motion to Exclude Dr, R.J. Lee’s Opinion on Cleavage Fragments

Claimants, by and through their counsel, respectfully move this Couwt, pursuant to
Federal Rule of Evidence 702, for an order excluding the proposed expert teshmony of Dr. R. J.
Lee on the issue of cleavage fragments. In support of this motion, Claunants rely on their
Memorandum in Support of Motion to Exclude Dr. R.J. Lee’s Opinions on Cleavage Fragments
and Federal Rule of Evidence 702.

WHEREFORE, Claimants pray this Honorable Court to exclude the proposed expert

testimony of Dr. R.J. Lee.

RESPECTFULLY SUBMITTED,

Db Ma —

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